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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


DISPLAY TECHNOLOGIES, LLC,

           Plaintiff,

v.                                                      Case No. 6:21-cv-01214-ADA

BMW OF NORTH AMERICA, LLC,

           Defendant.


        NOTICE OF STIPULATION CONCERNING EXTENSION OF TIME FOR
     DEFENDANT BMW OF NORTH AMERICA, LLC TO ANSWER OR OTHERWISE
                         RESPOND TO COMPLAINT


        Pursuant to the Court’s Standing Order Regarding Joint or Unopposed Request to Change

Deadlines dated August 11, 2021, Defendant BMW of North America, LLC, hereby notifies the

Court that Defendant has requested, and Plaintiff is unopposed, to a 40-day extension of time to

answer or otherwise respond to Plaintiff Display Technologies LLC’s Original Complaint.

        Based on Docket Entry 6, Defendant’s deadline to answer or otherwise respond to the

Complaint is currently December 15, 2021. With a 40-day extension, Defendant’s answer or

other response would be due January 24, 2022.

        Counsel for Defendant has conferred with counsel for Plaintiff and Plaintiff is unopposed

to the relief sought herein.
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                                   Respectfully submitted,

Dated: December 9, 2021             /s/ Michael E. Jones
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